                          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 1 of 22


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Heavy Metal, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  21325 Superior Street
                                  Chatsworth, CA 91311
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                    Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 2 of 22
Debtor    Heavy Metal, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4110

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 3 of 22
Debtor    Heavy Metal, Inc.                                                                               Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 4 of 22
Debtor    Heavy Metal, Inc.                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 11, 2023
                                                  MM / DD / YYYY


                             X /s/ Gayla Bella                                                            Gayla Bella
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X /s/ Michael D. Warner                                                       Date September 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael D. Warner
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 440 Louisiana Street
                                 Suite 900
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     713-691-9385                     Email address        mwarner@pszjlaw.com

                                 00792304 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 5 of 22
Debtor     Heavy Metal, Inc.                                                                Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing



                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     NH Services LLC                                                         Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Best Selling Home Decor Furniture, LLC                                  Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Le Pouf, LLC                                                            Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Noble House Home Furnishings LLC                                        Relationship to you               Affiliate
District                                              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
                          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 6 of 22




 Fill in this information to identify the case:

 Debtor name         Heavy Metal, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     List of Equity Security Holders, Corporate Ownership Statement, and Certification of
                                                                 Creditor Matrix

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 11, 2023                      X /s/ Gayla Bella
                                                                       Signature of individual signing on behalf of debtor

                                                                       Gayla Bella
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
     
                       Case 23-90776Document
                                          
                                                    1 Filed in TXSB on 09/11/23 Page 7 of 22




                                               Unanimous Written Consent
                                                        of the
                                                   Board of Directors
                                                          of
                                                   Heavy Metal, Inc.

                                             Effective as of September 8, 2023

                     The undersigned, being all of the members of the Board of Directors (the “Board”) of
             HEAVY METAL, INC., a California corporation (the “Company”), pursuant to laws of the State
             of California, do hereby consent to the adoption of the resolutions set forth below with the same
             force and effect as though adopted at a meeting of the Board duly called and held for the purpose
             of acting upon proposals to adopt such resolutions, and direct that this Unanimous Written Consent
             be filed in the records of each Company.

                            WHEREAS, the Company is a single purpose holding company owning all of the
             voting Common Units of Noble House Home Furnishing LLC (“Noble House”) representing a
             79.3187% membership interest in Noble House, which has been collaterally assigned to Wells
             Fargo to secure Noble House’s obligations under its senior secured credit facility;

                            WHEREAS, the board of managers of Noble House has approved the filing of a
             petition seeking relief under chapter 11 of the bankruptcy code;

                            WHEREAS, the continuing liquidity constraints facing the Company and
             borrowing restrictions under Noble House’s credit facility have resulted in the Company being
             unable to pay its debts as they come due and successfully operate its business; and

                            WHEREAS, the Board has reviewed the consolidated financial statements and
             cash flow projections of the Noble House and its consolidated subsidiaries and evaluated the ability
             of the Company to cover short-term obligations and pay long-term obligations;

                             NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it
             is desirable and in the best interests of the Company, its creditors, employees, shareholders, and
             other stakeholders that a petition be filed by the Company seeking relief under the provisions of
             chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

                              FURTHER RESOLVED, that the officers of the Company (each, an “Authorized
             Officer”) be, and each of them hereby is, authorized on behalf of the Company to execute, verify
             and file all petitions, schedules, lists, and other papers or documents, and to take and perform any
             and all further actions and steps that any such Authorized Officer deems necessary, desirable and
             proper in connection with the Company’s chapter 11 case, with a view to the successful
             prosecution of such case;

                            FURTHER RESOLVED, that the Authorized Officers, on behalf of the Company,
             are authorized, empowered and directed to retain the law firm of Pachulski Stang Ziehl & Jones
             LLP (“PSZ&J”) as bankruptcy counsel to represent and assist the Company in carrying out its
             duties under chapter 11 of the Bankruptcy Code, and to take any and all actions to advance each
             Company’s rights in connection therewith, and the Authorized Officers are hereby authorized and


             DOCS_LA:350526.4 61051/001
     
                       Case 23-90776Document
                                          
                                                    1 Filed in TXSB on 09/11/23 Page 8 of 22




             directed to execute appropriate retention agreements, pay appropriate retainers prior to and
             immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate application
             for authority to retain the services of PSZ&J;

                             FURTHER RESOLVED, that the Authorized Officers, on behalf of the Company,
             are authorized, empowered and directed to retain the services of Epiq Corporate
             Restructuring, LLC (“Epiq”), as claims and noticing agent, effective as of the date the petition is
             filed, and in connection therewith, the Authorized Officers are hereby authorized and directed to
             execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
             the filing of the bankruptcy, and to cause to be filed an appropriate application for authority to
             retain the services of Epiq;

                            FURTHER RESOLVED, that the Authorized Officers of the Company be, and
             hereby are, authorized and directed to employ any other professionals necessary to assist the
             Company in carrying out its duties under the Bankruptcy Code; and in connection therewith, the
             officers of the Company are hereby authorized and directed to execute appropriate retention
             agreements, pay appropriate retainers prior to or immediately upon the filing of the chapter 11 case
             and cause to be filed appropriate applications with the bankruptcy court for authority to retain the
             services of any other professionals, as necessary, and on such terms as are deemed necessary,
             desirable and proper;

                             FURTHER RESOLVED, that the Authorized Officers of the Company be, and
             each of them hereby is, authorized and empowered to obtain post-petition financing according to
             terms which may be negotiated by the management of the Company, including under debtor-in-
             possession credit facilities or the use of cash collateral; and to enter into any guaranties and to
             pledge and grant liens on its assets as may be contemplated by or required under the terms of such
             post-petition financing or cash collateral agreement; and in connection therewith, the Authorized
             Officers of the Company are hereby authorized and directed to execute appropriate loan
             agreements, cash collateral agreements and related ancillary documents;

                             FURTHER RESOLVED, that in the judgment of the Board, it is desirable and in
             the best interests of the Company that the Company sell substantially all of its assets and, therefore,
             the Company is hereby authorized to enter into one or more asset purchase agreements to effectuate
             such sale on such terms that management determines will maximize value, and the Company is
             further authorized to file motions to approve such sale and for any related relief, or to approve a
             sale to a higher and better bidder, and to close such sale, subject to Bankruptcy Court approval in
             the Company’s chapter 11 proceedings;

                              FURTHER RESOLVED, that the Authorized Officers be, and each of them
             hereby is, authorized on behalf of the Company to take any and all actions, to execute, deliver,
             certify, file and/or record and perform any and all documents, agreements, instruments, motions,
             affidavits, applications for approvals or rulings of governmental or regulatory authorities or
             certificates and to take any and all actions and steps deemed by any such Authorized Officer to be
             necessary or desirable to carry out the purpose and intent of each of the foregoing resolutions and
             to effectuate a successful chapter 11 case, including, but not limited to the development, filing and
             prosecution to confirmation of a chapter 11 plan and related disclosure statement;



             DOCS_LA:350526.4 61051/001                        2
     
                       Case 23-90776Document
                                          
                                                    1 Filed in TXSB on 09/11/23 Page 9 of 22




                             FURTHER RESOLVED, that Gayla Bella be appointed to serve as chief financial
             officer of the Company until her successor is duly elected and qualified; and

                             FURTHER RESOLVED, that any and all actions heretofore taken by any
             Authorized Officer or the directors of the Company in the name and on behalf of the Company in
             furtherance of the purpose and intent of any or all of the foregoing resolutions be, and hereby are,
             ratified, confirmed, and approved in all respects.




                               REMAINDER OF THIS PAGE HAS BEEN INTENTIONALLY LEFT BLANK.




             DOCS_LA:350526.4 61051/001                       3
     Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 10 of 22




[SIGNATURE PAGE TO ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD OF
                    DIRECTORS OF HEAVY METAL, INC.]
             Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 11 of 22




  Fill in this information to identify the case:

  Debtor nameHeavy Metal, Inc.

  United States Bankruptcy Court for the Southern District of Texas
                                                               (State)
  Case number (If                                                                                                                      Check if this is an
  known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders (on a Consolidated
Basis)
12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.


     Name of creditor       Name, telephone             Nature of the        Indicate if claim Amount of unsecured claim
     and complete           number, and email           claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
     mailing address,       address of creditor        (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
     including zip code     contact                    debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                                       professional                            calculate unsecured claim.
                                                       services, and
                                                       government
                                                       contracts)
                                                                                                Total claim, if    Deduction for      Unsecured claim
                                                                                                partially          value of
                                                                                                secured            collateral or
                                                                                                                   setoff
1.    Jiang Su            Name: Mr. Wu                 Trade Debt            Unliquidated                                                      $4,203,015.88
      Chairone Home       Telephone:
      Furniture Co.,      13801768850
      Ltd
      No. 333 Xuhuai      Email: gm-
      Rd., Zhongxing      wgs@chairone.net
      Town
      Siyang County
      Suqian City,
      Jiangsu 223700
      CHINA

2.    HA Thanh        Name: Ms. Le Thi      Trade Debt                       Unliquidated                                                      $4,046,770.65
      Import- Export  Phuong Thao
      Company Limited Telephone: 84 901 805
      108 Ly Thai To 777
      Street, Quang
      Trung Ward      Email:
      Quy Nhon City, lethao1851@gmail.com
      Binh Dinh
      Province 55000
      VIETNAM




                                                                               1
 DOCS_LA:351106.1
            Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 12 of 22




     Name of creditor     Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
     and complete         number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
     mailing address,     address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
     including zip code   contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                                professional                            calculate unsecured claim.
                                                services, and
                                                government
                                                contracts)
                                                                                         Total claim, if    Deduction for      Unsecured claim
                                                                                         partially          value of
                                                                                         secured            collateral or
                                                                                                            setoff
3.    Wegmans          Name: Collin           Trade Debt              Unliquidated                                                    $3,091,389.17
      Furniture        Telephone: 00 606 986
      Industries SDN 7897 / 60126396622
      BHD
      Lot PTD 3504, Email:
      Jalan Bakri Batu collin@wegmansfurnitur
      7½               e.com
      Muar, Johor
      84200
      MALAYSIA
4.    Phu Tai Joint    Name: Mr. Nguyen Sy Trade Debt                 Unliquidated                                                      $2,892,926.15
      Stock Company Hoe
      Phuoc Thanh      Telephone: 84 903 581
      Commune          798
      Tuy Phuoc
      District, CA     Email:
      55113            nguyensyhoe@gmail.co
      VIETNAM          m

5. Suzhou Shushi Name: Ruobin Tang Trade Debt                         Unliquidated                                                    $2,187,234.64
      Furniture Co Telephone:
      Ltd           13862386823
      No. 18
      Laoliuhe Road Email:
      Chengxiang    rbtang@szss.com.cn
      Town
      Taicang,
      Jiangsu
      215411
      CHINA

6. Eco Tech Co., Name: Mr. Hoang                Trade Debt            Unliquidated                                                   $2,055,046.45
      Ltd             Quy Thach
      Lot A5-A6       Telephone: 84 903
      Phuoc An        550 074
      Industrial Zone
      Tuy Phuoc       Email:
      Dist, Binh Dinh ecotech@thachoang.
      Province        com
      55000
      VIETNAM




                                                                        2
DOCS_LA:351106.1
          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 13 of 22




   Name of creditor     Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
   and complete         number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
   mailing address,     address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
   including zip code   contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                              professional                            calculate unsecured claim.
                                              services, and
                                              government
                                              contracts)
                                                                                       Total claim, if    Deduction for      Unsecured claim
                                                                                       partially          value of
                                                                                       secured            collateral or
                                                                                                          setoff
7. Vinafor Danang Name: Mr. Huynh The Trade Debt                    Unliquidated                                                    $2,041,692.72
    Wood           Vinh
    Processing     Telephone: 84 905
    Enterprise     112 669
    No 42 Lac
    Long Quan Str. Email:
    Hoa Khanh      vinh.vinafordn@gmail.
    Bac Ward       com
    Lien Chieu
    District, Da
    Nang 50000
    VIETNAM

8. Grand            Name: Monica       Trade Debt                   Unliquidated                                                    $2,026,494.42
    Universe        Telephone:
    Investment Ltd. 13636915150 /
    Photoelectric 86-595 2288 1048
    Industry Base
    Xiamei Town, Email:
    Nanan           monica@sanshuico.c
    Quanzhou        n
    City Fujian, CA
    1809
    CHINA

9. FEDEX          Telephone: 800-463- Trade Debt                    Unliquidated                                                   $1,757,062.67
    P.O. Box 7221 3339
    Pasadena, CA
    91109-7321    Email:
    USA           customersolutions@fe
                  dex.com

10. Bazhou         Name: Tianjiang            Trade Debt            Unliquidated                                                    $1,645,164.97
    Hongjiang      Telephone:
    Furniture      15132653333
    Co.,Ltd
    Economic       Email:
    Cooperation    sales3@cnhjjj.com
    Area,
    Shengfang
    Town
    Bazhou City,
    Hebei Province
    065700
    CHINA




                                                                     3
DOCS_LA:351106.1
          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 14 of 22




   Name of creditor     Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
   and complete         number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
   mailing address,     address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
   including zip code   contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                              professional                            calculate unsecured claim.
                                              services, and
                                              government
                                              contracts)
                                                                                       Total claim, if    Deduction for      Unsecured claim
                                                                                       partially          value of
                                                                                       secured            collateral or
                                                                                                          setoff
11. Fujian Anxi     Name: Winson         Trade Debt                 Unliquidated                                                    $1,608,602.28
    Jiafu           Telephone:
    Handicrafts     13959913113
    Co.,Ltd.
    Tongmei         Email:
    Industrial Area anxijiafu@vip.163.co
    Anxi, Fujian    m
    362400
    CHINA

12. Haining Zhenyi Name: Mr. Feng             Trade Debt            Unliquidated                                                   $1,436,068.62
    Furniture     (Fenglingjie)
    Co.,Ltd       Telephone:
    No.6 South    13806726809
    Sangzhi Road
    Zhouwangmiao Email:
    Town          13806726809@139.c
    Haining City, om
    Zhejiang
    314407
    CHINA

13. Anji Qianghong Name: Mr Lou               Trade Debt            Unliquidated                                                    $1,300,678.16
    Furniture        (Louzhihong)
    Co.,Ltd          Telephone:
    Yishita          13967275059
    Industrial Zone.
    Anji County      Email:
    Huzhou City, nicknie@ajhongs.com
    Zhejiang
    313300
    CHINA

14. 19 Forestry    Name: Mr. Bui Van  Trade Debt                    Unliquidated                                                    $1,260,420.54
    Joint Stock    Khoanh
    Company        Telephone: 84 903
    D1.4 Lot, Nhon 574 197
    Hoa Industrial
    Park           Email:
    Nhon Hoa       vankhoanh@gmail.co
    Ward           m
    An Nhon Town,
    Binh Dinh
    Province
    55112
    VIETNAM




                                                                     4
DOCS_LA:351106.1
         Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 15 of 22




  Name of creditor      Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
  and complete          number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
  mailing address,      address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
  including zip code    contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                              professional                            calculate unsecured claim.
                                              services, and
                                              government
                                              contracts)
                                                                                       Total claim, if    Deduction for      Unsecured claim
                                                                                       partially          value of
                                                                                       secured            collateral or
                                                                                                          setoff
15. King Import & Name: King                  Trade Debt            Unliquidated                                                    $1,239,535.00
   Export Trade        Telephone: 86 139
   Co., Limited        1822 4133
   Room 2109,          Email:
   No.188 Siping       king@kingshipping.co
   Road                m
   Hongkou,
   Shanghai
   200081
   CHINA

16. Caoxian Mu Si Name: Lewis                 Trade Debt            Unliquidated                                                    $1,115,947.97
   Te Crafts Co.,      Telephone: 0530-
   Ltd                 3061168 /
   North Of The        15864606199
   Middle of
   Yalujiang Rd.       Email:
   Qinghe              fuyang11@sdfygy.co
   Subdistrict         m
   Office Cao
   County
   Heze City,
   Shandong
   Province
   274400
   CHINA

17. A-IHome            Name: Jame Jiang       Trade Debt            Unliquidated                                                    $1,111,980.23
   Furniture Ltd       Telephone:
   No3439              18668359977
   Linggongtang
   Road                Email:
   Nanhu Zone          ihome001@vip.163.c
   Jiaxing             om
   Zhejiang
   314006
   CHINA




                                                                     5
DOCS_LA:351106.1
           Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 16 of 22




   Name of creditor     Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
   and complete         number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
   mailing address,     address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
   including zip code   contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                              professional                            calculate unsecured claim.
                                              services, and
                                              government
                                              contracts)
                                                                                       Total claim, if    Deduction for      Unsecured claim
                                                                                       partially          value of
                                                                                       secured            collateral or
                                                                                                          setoff
18. Forest        Name: Mr. Phan Anh Trade Debt                     Unliquidated                                                   $1,060,120.86
    Products      Tuan
    Export Joint- Telephone: 84 905
    Stock         114 287
    Company of
    Quangnam      Email:
    Dien Ngoc     xndienngoc@forexco.
    Village, Dien vn
    Ban District
    Dien Ban Town
    Quangnam
    Province
    51000
    VIETNAM

19. Tongxiang      Name: Jason Yang Trade Debt                      Unliquidated                                                      $917,028.59
    Jason Import & Telephone:
    Export Co.,Ltd 13758328477
    No. 1500,
    Guangming      Email:
    Road           Jasonfurniture@vip.1
    Tongxiang,     63.com
    Zhejiang
    314500
    CHINA
20. Hao Mei        Name: Mr. Liu        Trade Debt                  Unliquidated                                                      $908,636.73
    Limited (HK) Telephone: 86
    No 27, Kai     13702454235
    Yuan Road
    Dong Hua       Email: ljy@haomei.hk
    Street, Long
    You
     County,
    Qu Zhou
    City,Zhejiang
    Province
    324000
    CHINA

21. Lion            Name: Wang         Trade Debt                   Unliquidated                                                      $810,347.00
    International   Weiguang
    Logistics (HK) Telephone: 86 139
    Co.,Limited     5018 8472
    Unit 1216,12/F,
    Bonded Goods Email:
    Market Building wangweiguang@lionl
    Xiangyu Road ogi.com.cn
    ,No.88
    Xiamen, CA
    999077
    CHINA


                                                                     6
DOCS_LA:351106.1
          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 17 of 22




   Name of creditor     Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
   and complete         number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
   mailing address,     address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
   including zip code   contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                              professional                            calculate unsecured claim.
                                              services, and
                                              government
                                              contracts)
                                                                                       Total claim, if    Deduction for      Unsecured claim
                                                                                       partially          value of
                                                                                       secured            collateral or
                                                                                                          setoff
22. Kingston        Name: Ms. Cao       Trade Debt                  Unliquidated                                                      $808,353.11
    Industry        Phuong Thao
    Vietnam Ltd     Telephone: 84 983
    Lot B8 Center 683 083
    Road
    Phu Tai         Email:
    Industrial Zone thao@kingstonvn.com
    Tran Quang
    Dieu Ward
    Quy Nhon City,
    Binh Dinh
    Province
    55000
    VIETNAM

23. Hangzhou       Name: Mr. Peng      Trade Debt                   Unliquidated                                                      $777,073.16
    Changshun      Telephone:
    Furniture Co., 13805765305
    Ltd.
    No. 88,        Email:
    Zhumufan       furniture@hzchangsh
    Yushan         un.com
    Industry Zone,
    Fuyang
    Hangzhou,
    Zhejiang
    311400
    CHINA

24. Xin Jian        Name: Jason Wang Trade Debt                     Unliquidated                                                      $752,977.19
    Hardware        Telephone:
    Limited         13828805740
    No.5,Jinji Rd. Email:
    Dapianmei       wangjun.0203@163.c
    Industrial Zone om
    Dalinshan
    Town
    Dongguan City,
    Guangdong
    Province
    523820
    CHINA

25. Anxi Future      Name: Mr. Ye         Trade Debt                Unliquidated                                                      $746,036.17
    Star Crafts Co., Telephone: 189 6564
    Ltd              1819
    Anxi Business
    Investment       Email:
    Zone             chaodong@futurecraft
    Quanzhou,        s.net
    Fujian 362400
    CHINA

                                                                     7
DOCS_LA:351106.1
          Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 18 of 22




   Name of creditor     Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
   and complete         number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
   mailing address,     address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
   including zip code   contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                              professional                            calculate unsecured claim.
                                              services, and
                                              government
                                              contracts)
                                                                                       Total claim, if    Deduction for      Unsecured claim
                                                                                       partially          value of
                                                                                       secured            collateral or
                                                                                                          setoff
26. Anji Yiyuan     Name: Linda Chen     Trade Debt                 Unliquidated                                                      $723,116.08
    Furniture Co., Telephone:
    Ltd.            15857213808/05272-
    Building 1      5700315
    Baishuiwan      Email: lindachen@z-
    Industrial Park maxcraftfurniture.cn
    Tianhuangping
    Huzhou,
    Zhejiang
    313301
    CHINA

27. Cam Ha Joint- Name: Mr. Duong      Trade Debt                   Unliquidated                                                      $721,259.76
    Stock            Phu Minh Hoang
    Company          Telephone: 84 905
    448 Hung         454 745
    Vuong Str, 3rd
    Group            Email:
    Thanh Ha         hoangcamha@camha
    Ward             furniture.com
    Hoi An City,
    Quang Nam
    Province
    51000
    VIETNAM
28. Hangzhou         Name: Mr. Jiang   Trade Debt                   Unliquidated                                                      $698,494.66
    Hengzhijie       Telephone:
    Import And       13805704252
    Export Co., Ltd. Email: jd-
    Jian Bei North xxjianglin@163.com
    Rd 35, Qiantan
    Town
    Jiande City,
    Zhejiang
    Province
    311602
    CHINA




                                                                     8
DOCS_LA:351106.1
           Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 19 of 22




   Name of creditor      Name, telephone        Nature of the        Indicate if claim Amount of unsecured claim
   and complete          number, and email      claim                is contingent,    If the claim is fully unsecured, fill in only unsecured claim
   mailing address,      address of creditor   (for example, trade   unliquidated, or amount. If claim is partially secured, fill in total claim
   including zip code    contact               debts, bank loans,    disputed          amount and deduction for value of collateral or setoff to
                                               professional                            calculate unsecured claim.
                                               services, and
                                               government
                                               contracts)
                                                                                        Total claim, if    Deduction for      Unsecured claim
                                                                                        partially          value of
                                                                                        secured            collateral or
                                                                                                           setoff
29. Ningbo Mayard Name: Amy                    Trade Debt            Unliquidated                                                      $688,907.80
    Outdoor             Telephone:
    Products            13777132696
    Co.,Ltd             Email:
    999 Xinling         amy@cnnewsky.net
    West Road
    Shangqiao
    Economic
    Development
    District
    Xiwu Street,
    Fenghua
    Ningbo,
    Zhejiang
    315514
    CHINA
30. Pudong Prime        Telephone: 626-258- Trade Debt               Unliquidated                                                      $657,746.00
    Int'l Logistics,    0540
    Inc                 Email:
    9660 Flair          larrypdus@cs.com
    Drive, Suite
    488
    El Monte, CA
    91731
    USA




                                                                      9
DOCS_LA:351106.1
                         Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 20 of 22




                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Heavy Metal, Inc.                                                                            Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Heavy Metal, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:




    None [Check if applicable]




 September 11, 2023                                                  /s/ Michael D. Warner
 Date                                                                Michael D. Warner
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Heavy Metal, Inc.
                                                                     Pachulski Stang Ziehl & Jones LLP
                                                                     440 Louisiana Street
                                                                     Suite 900
                                                                     Houston, TX 77002
                                                                     713-691-9385 Fax:713-691-9407
                                                                     mwarner@pszjlaw.com




Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
                         Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 21 of 22

                                                               United States Bankruptcy Court
                                                                      Southern District of Texas
 In re      Heavy Metal, Inc.                                                                                         Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Marshall R. Bernes HMI Trust, Kean Jin Ooi                          Class A                            165                      20.6250% ownership interest
 and Matthew M. Mazdyasni, Trustees

 Siew King Tham 2019 Irrevocable Gift Trust,                         Class B                            595                      74.3750% ownership interest
 Marshall R. Bernes and Siew King Tham,
 Trustees

 Jasper Quentin Bernes 2018 Irrevocable Gift Class B                                                     20                      2.5000% ownership interest
 Trust, Marshall R. Bernes, Trustee

 Jax Daniele Tatro 2018 Irrevocable Gift                             Class C                             20                      2.5000% ownership interest
 Trust, Marshall R. Bernes, Trustee


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date September 11, 2023                                                       Signature /s/ Gayla Bella
                                                                                            Gayla Bella

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 23-90776 Document 1 Filed in TXSB on 09/11/23 Page 22 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    In re:                                                    Chapter 11

    HEAVY METAL, INC.1,                                       Case No. 23-_____ (___)

                        Debtor.                               (Joint Administration Requested)



                             CERTIFICATION OF CREDITOR MATRIX


        Pursuant to Rule 1007(a) of the Federal Rules of Bankruptcy Procedure, the above
captioned debtor and its affiliated debtors in possession (collectively, the “Debtors”) hereby certify
that the Creditor Matrix submitted herewith contains the names and addresses of the Debtors’
creditors. To the best of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and
consistent with the Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




1
 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
numbers, are: Noble House Home Furnishings LLC (1671); Best Selling Home Decor Furniture, LLC (5580), Le
Pouf, LLC (8197), NH Services LLC (9626), and Heavy Metal, Inc. (3124). The Debtors’ service address in these
Chapter 11 cases is 700 Milam Street, Suite 1300, Houston, TX 77002.




DOCS_LA:350732.1 61051/002
